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  4
      Entered on Docket
  5 January 09, 2023
__________________________________________________________________
  6          Samuel A. Schwartz, Esq.
             Nevada Bar No. 10985
  7          saschwartz@nvfirm.com
             SCHWARTZ LAW, PLLC
  8          601 East Bridger Avenue
  9          Las Vegas, NV 89101
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             Proposed Attorneys for the Debtor
 11

 12                                   UNITED STATES BANKRUPTCY COURT
                                         FOR THE DISTRICT OF NEVADA
 13

 14      In re:                                                )    Case No.: 22-14422-nmc
                                                               )
 15      MUSCLEPHARM CORPORATION,                              )    Chapter 11
                                                               )
 16                                                            )
                                                               )    Interim Hearing Date: January 6, 2023
 17                                Debtor.
                                                               )    Interim Hearing Time: 9:30 a.m. (PT)
 18
                      FIRST INTERIM ORDER PURSUANT TO EMERGENCY MOTION
 19            FOR INTERIM AND FINAL ORDERS PURSUANT TO 11 U.S.C. §§ 105, 361, 362,
 20            363, AND 364 AND FED. R. BANKR. P. 4001(B) AND 4001(D): (I) AUTHORIZING
                 THE DEBTOR TO OBTAIN POST-PETITION FINANCING, (II) GRANTING
 21                  PRIMING LIENS AND ADMINISTRATIVE EXPENSE CLAIMS, (III)
                     DETERMINING ADEQUATE PROTECTION, (IV) MODIFYING THE
 22                     AUTOMATIC STAY, AND (V) GRANTING RELATED RELIEF
 23                Upon the motion (“Motion”) 1 of MusclePharm Corporation, the chapter 11 debtor and
 24      debtor in possession herein (“MusclePharm” or the “Debtor”), for entry of an interim and final
 25      orders pursuant to Sections2 105, 361, 362, 363, and 364 of the Bankruptcy Code, Bankruptcy Rules
 26
         1
                   Capitalized terms not otherwise defined herein shall have those meanings ascribed to them in the
 27      Motion.
         2
               Unless otherwise stated, all references to “Section” herein shall be to title 11 of the U.S. Code (the
 28      “Bankruptcy Code”); all references to a “Bankruptcy Rule” shall refer to the Federal Rules of Bankruptcy
                                                                1
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 1   2002, 4001, 6004, and 9014, and Local Rule 4001, requesting the Court, in pertinent part, to
 2   authorize the Debtor to obtain emergency credit and incur debt on an interim basis (the “DIP
 3   Financing”), and the Debtor having negotiated and filed a substitute term sheet (the “Term Sheet”)
 4   with the Court on January 6, 2023 (ECF No. 65) between the Debtor, as borrower, and Empery Tax
 5   Efficient, L.P. (“Empery” or the “Lender”), as Lender, in lieu of White Winston as the originally
 6   proposed lender in the Motion; to provide the DIP Financing, on the terms set forth in the Term
 7   Sheet; and sufficient notice of the Motion and the First Interim Hearing having been provided under
 8   the circumstances by the Debtor; and the Court having continued the First Interim Hearing from
 9   January 5, 2023, to January 6, 2023, at 9:30 a.m.; and after considering the Motion and all pleadings
10   and papers filed with this Court in connection with the Motion, including any objections to the
11   Motion, and the argument of counsel at the First Interim Hearing; and upon the record made by the
12   Debtor and others at the First Interim Hearing; and the Court having found and determined that,
13   subject to the terms of this first interim order (the “First Interim Order”), the relief sought in the
14   Motion, as amended by the substitution of the Term Sheet to the extent provided below, is in the
15   best interests of the Debtor, its estate, creditors, and all parties in interest; and after due deliberation
16   and consideration and good and sufficient cause appearing therefore:
17           IT IS HEREBY ORDERED, ADJUDGED AND DECREED:
18           1.      Interim Approval. The Motion is GRANTED on an interim basis and only to
19   the extent provided by this First Interim Order through the date and time of the Second Interim
20   Hearing (defined below). All provisions of the Term Sheet not authorized or allowed pursuant to
21   the First Interim Order are not approved and are reserved for allowance or denial as the Court may
22   determine hereafter. The lender protections for advances made by Empery on an interim basis
23   pursuant to this First Interim Order shall be limited to the provisions set forth below.
24           2.      Approved Funding. The Debtor is hereby authorized to borrow from Empery an
25   aggregate amount up to $150,000 on an interim basis (the “Approved Empery Funding”).
26           3.      Use of the Approved Funding. The Approved Empery Funding shall be used by
27
     Procedure; and all references to a “Local Rule” or “LR” shall refer to the Local Rules of Bankruptcy Practice
28   of the U.S. District Court for the District of Nevada.

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 1   the Debtor to pay for only those reasonable expenses associated with: (i) payroll; (ii) insurance;
 2   (iii) product labeling; and (iv) other reasonable and necessary operational expenses, up to the
 3   amount of the Approved Empery Funding.
 4          4.      Priority and Security of the Approved Funding. All amounts of the Approved
 5   Empery Funding by Empery shall have: (i) a superpriority administrative expense claim in
 6   accordance with Section 364(c)(1) of the Bankruptcy Code; and (ii) without the necessity of the
 7   execution by the Debtor or the filing or recordation of liens, security agreements, lock box or
 8   control agreements, financing statements or any other instruments of otherwise), valid, binding and
 9   fully perfected security interests in an liens (the “DIP Liens”) with co-priority with the Prepetition
10   Secured Parties (as defined in the Term Sheet) upon all property of the Debtor and all other property
11   of the estate within the meaning of Section 541 of the Bankruptcy Code, including, without
12   limitation, the cash collateral and the prepetition collateral (collectively, the “Collateral”);
13   however, which Collateral does not include (i) the Debtor’s commercial tort claims, and (ii)
14   bankruptcy claims and causes of action arising under Sections 502(d), 544, 545, 547, 548, 549, 550,
15   and 553 of the Bankruptcy Code and any other avoidance actions under the Bankruptcy Code and
16   state law equivalents and the proceeds thereof. The liens granted post-petition by the Debtor to
17   Empery pursuant to this First Interim Order shall not impair nor have any priority over, and are
18   subject to, the pre-petition liens of Prestige Capital Finance, LLC (“Prestige”) that are senior to
19   those pre-petition liens of Empery pursuant to the parties’ pre-petition intercreditor agreement. To
20   the extent this First Interim Order grants any other rights post-petition to Empery (including but
21   not limited to the super-priority administrative expense status), those rights shall not impair nor
22   have any priority over, and are subject to, the prepetition liens of Prestige.
23          5.      Board of Directors. Effective immediately upon the entry of the First Interim
24   Order, all members of the Debtor’s board of directors (other than Paul Karr) shall be deemed
25   removed and the Debtor’s sole remaining director shall be Paul Karr. Upon issuance of director
26   and officer insurance, acceptable to each of the New Board Members (defined below), (i) Jeffrey
27   Gasbarra of Portage Point Partners, LLC, and (ii) Eric Hillman (together, the “New Board
28   Members”); shall be appointed to the Debtor’s board of directors without further corporate action

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 1   or order of this Court. Subsequent to the entry of this First Interim Order, none of the Debtor’s
 2   board of directors may be replaced without prior written consent of the Official Committee of
 3   Unsecured Creditors and DIP Agent.
 4           6.      No Obligation to Fund. This First Interim Order does not obligate Empery to make
 5   the Approved Empery Funding.
 6           7.      First Interim Order Effective. This First Interim Order shall be treated as a
 7   “speaking order” and take effect immediately notwithstanding anything to the contrary prescribed
 8   by applicable law.
 9           8.      Second Interim Hearing. The Bankruptcy Court shall hold a second interim
10   hearing to consider the relief requested by the Debtor in the Motion as modified by the Term Sheet
11   on a further interim basis on January 13, 2023, at 9:30 a.m. prevailing Pacific Time (the “Third
12   Interim Hearing”). All pleadings and papers for this Court to consider at the Third Interim
13   Hearing shall be filed with the Court no later than January 12, 2023, at 12:00 p.m. prevailing Pacific
14   Time.
15           9.      Retention of Jurisdiction. The Court shall retain jurisdiction to hear and determine
16   all matters arising from the implementation of this First Interim Order.
17

18           IT IS SO ORDERED.
19   Submitted by:
20   SCHWARTZ LAW, PLLC
21
     By: /s/ Samuel A. Schwartz
22   Samuel A. Schwartz, Esq.
     601 East Bridger Avenue
23   Las Vegas, NV 89101
24   Proposed Attorneys for the Debtor
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 1   Approved:                                         Approved:
 2   TRACY HOPE DAVIS                                  CARLYON CICA CHTD.
     UNITED STATES TRUSTEE
 3                                                     By: /s/ Candace Carlyon
     By: /s/ Jared A. Day                              Candace Carlyon, Esq.
 4   Jared A. Day, Esq.                                Attorneys for Ryan Drexler
     United States Department of Justice
 5   Attorney for the United States Trustee
 6
     Approved:                                         Approved:
 7
     GARMAN TURNER GORDON                              PACHULSKI STANG ZIEHL & JONES
 8                                                     LLP
     By: /s/ Mark M. Weisenmiller
 9   Mark M. Weisenmiller, Esq.                        By: /s/ Jason Rosell
     Attorneys for Empery Tax Efficient, L.P.          Jason Rosell, Esq.
10                                                     Attorneys for the Official Committee
                                                       of Unsecured Creditors
11

12   Approved:                                         Approved:
13   JEFFREY D. STERNKLAR LLC                          LEWIS ROCA ROTHGERBER CHRISTIE
                                                       LLP
14   By: /s/ Jeffrey D. Sternklar
     Jeffrey D. Sternklar, Esq.                        By: /s/ Ogonna Brown
15   Attorneys for White Winston Select                Ogonna Brown, Esq.
     Asset Funds, LLC                                  Attorneys for Prestige Capital Finance, LLC
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 1                                       LR 9021 CERTIFICATION
 2          In accordance with LR 9021, counsel submitting this document certifies that the order
 3   accurately reflects the court’s ruling and that:
 4                  The court has waived the requirement set forth in LR 9021(b)(1).
 5
                    No party appeared at the hearing or filed an objection to the motion.
 6
                    I have delivered a copy of this proposed order to all counsel and any unrepresented
 7          parties who appeared at the hearing, except those as to whom review was waived on the
            record at the hearing, and each has approved or disapproved the order, or failed to respond,
 8
            as indicated above.
 9
                     Jared A. Day, Esq.                                  Approved/Disapproved
10                   United States Department of Justice
11                   Mark M. Weisenmiller, Esq.                          Approved/Disapproved
                     Attorneys for Empery Tax Efficient, L.P.
12
                     Candace Carlyon, Esq.                               Approved/Disapproved
13                   Attorneys for Ryan Drexler
14                   Jason Rosell, Esq.                                  Approved/Disapproved
                     Attorneys for the Official Committee
15                   of Unsecured Creditors
16                   Ogonna Brown, Esq.                                  Approved/Disapproved
                     Attorneys for Prestige Capital Finance, LLC
17
                     Jeffrey D. Sternklar, Esq.                          Approved/Disapproved
18                   Attorneys for White Winston Select
                     Asset Funds, LLC
19

20                 I certify that this is a case under Chapter 7 or 13, that I have served a copy of this
            order with the motion pursuant to LR 9014(g), and that no party has objected to the form
21          or content of this order.
                                                       ###
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